 Case 3:20-cr-30005-PKH Document 31               Filed 10/06/21 Page 1 of 3 PageID #: 147




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 HARRISON DIVISION

UNITED STATES OF AMERICA                                                              PLAINTIFF

v.                                    No. 3:20-CR-30005
KERRY OWEN PARKS                                                                    DEFENDANT

                                    ORDER AND OPINION

       Before the Court is Defendant Kerry Owen Parks’s motion (Doc. 29) requesting judicial

recommendation. Parks requests a court recommendation to the Bureau of Prisons (“BOP”) that

he be placed in a residential re-entry center (“RRC”) for a period of 12 months prior to the end of

his sentence, the maximum period allowed. The Government has filed a response (Doc. 30). For

the reasons set forth below, Parks’s motion will be DENIED.

I.     Background

       On March 4, 2020, Parks was named in a two-count indictment charging him with one

count of knowingly making a firearm in violation of the National Firearms Act and one count of

knowingly possessing an unregistered firearm. On June 11, 2020, Parks pled guilty to count one

of the indictment. Parks committed the offense of conviction while under a criminal judicial

sentence in three separate state criminal cases. Though the sentencing guidelines recommended a

sentence of 110 to 120 months, the Court granted Parks a downward variance. On October 7,

2020, Parks was sentenced to 60-months imprisonment and a 3-year term of supervised release.

Parks’s projected release date is December 5, 2023.

       In support of his request for judicial recommendation, Parks states he has very limited

resources to return to, minimal support in the area, is being released in an area where there are

limited community resources for ex-offenders returning to society, he requires time to build a

sufficient amount of savings to support himself post-release, and due to his prison sentence, “where

                                                 1
Case 3:20-cr-30005-PKH Document 31                Filed 10/06/21 Page 2 of 3 PageID #: 148




he has been and will be away from society for several years,” he requires transitional training to

achieve a successful and permanent re-entry into society. (Doc. 29, ¶¶ 5-8). Parks also points to

the fact that he has completed many rehabilitation programs while in the BOP, including the Non-

Residential Drug Abuse Program, the Money Management course, and the Residential Drug Abuse

Program, and has continuously maintained work assignments and an exemplary disciplinary

record. In response, the Government argues that time spent in incarceration is important to reflect

the seriousness of the offense and deter future conduct of Parks, and it anticipates that Parks will

receive 6 months in a RRC before being placed on supervised release.

II.    Legal Standard

       To the extent practical, the BOP is directed to “ensure that a prisoner serving a term of

imprisonment spends a portion of the final months of that term (not to exceed 12 months), under

conditions that will afford that prisoner a reasonable opportunity to adjust to and prepare for the

reentry of that prisoner into the community.” 18 U.S.C.A. § 3624(c)(1). “Such conditions may

include a community correctional facility.” Id. Though the sentencing court may make a

recommendation to the BOP regarding placement of a prisoner in a particular community

correctional facility, the BOP is not bound by any recommendation, and a court recommendation

is only one of five factors the BOP must consider when making a determination regarding the

placement of a prisoner. 18 U.S.C.A. § 3621(b).

III.   Discussion

       The Court begins by noting that Parks received a significant downward variance and was

sentenced to a term of imprisonment of 60 months; he now requests that the Court recommend he

spend 20 percent this time in a RRC. The Court agrees with the Government that such a

recommendation would not reflect the seriousness of the offense nor serve as adequate deterrent



                                                 2
Case 3:20-cr-30005-PKH Document 31                Filed 10/06/21 Page 3 of 3 PageID #: 149




in light of Parks’s extensive criminal history. Though Parks has completed many rehabilitation

courses while incarcerated, it is the Court’s view that these courses will greatly assist him in his

transition back to society and do not on their own warrant a judicial recommendation for a longer

period of RRC placement. Parks has not presented any other unique circumstances which persuade

the Court that a recommendation for a longer period of RRC placement is warranted.

       The above notwithstanding, though the Court will not recommend Parks receive a longer

period of RRC placement, nor will the Court recommend against it. Instead, the Court will leave

to the BOP the discretion to consider these circumstances and others without sentencing court

input when deciding whether and how long to place Parks in a RRC.

IV.    Conclusion

       IT IS THEREFORE ORDERED that Parks’s motion (Doc. 29) for judicial

recommendation is DENIED.

       IT IS SO ORDERED this 6th day of October, 2021.


                                                             /s/P. K. Holmes, ΙΙΙ
                                                             P.K. HOLMES, III
                                                             U.S. DISTRICT JUDGE




                                                 3
